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                                          No. 16-1521C
                                    Fifed: February 24,2017
    ,N. * * * * * * * 1. * r. * *,t   * * * *d.
                                                                               FILED
    STEVEN DEON TURNER, JR.,
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                        Plaintiff,                                          U.S. COURT OF
                                                                           FEDERAL CLAIMS
    v.
    PAUL A. BACIAGALUPO, JAKIE
    LACEY, STEVEN E, WEISS, PHILIP L.
    BROWNING, MARGUERITE
    DOWNING, CANDICE KEY, MELITA
    wtLEY, (UNITED STATES),
                        Defendants.
    ,1.   * * * * * * + * * + * * * * * * **
          Steven D. Turner, Jr., pro gg, California Correctional Institution, Tehachapi, CA.
       Jeffrey M. Lowry, Trial Attorney, Commercial Litigation Branch, Civil Division,
United States Department of Justice, Washington, D.C., for defendant. With him was
Robert E. Kirschman, Jr., Director, Commercial Litigation Branch, Joyce R. Branda,
Acting Assistant Attorney General, Civil Division, Department of Justice, Washington,
D.C.
                                           OPINION

HORN. J.

                                      FINDINGS OF FACT

       Pro se plaintiff Steven Turner, Jr. filed a "criminal complaint" in the United States
Court of Federal Claims against various individuals. Plaintiff did not identify the United
States as the defendant in this case. Instead, plaintiff lists "Paul A. Baciagalupo," "Jakie
Lacey," "Steven E. Weiss," "Philip L. Browning," "Candice Key," "Melita Wiley," and
"Marguerite Downing" as well as "a legislative entity."l Although plaintiff's "criminal
complaint" contains incoherent allegations against these individuals, he appears to assert
that pursuant to the California "penal" and "Government" code, the "Constitution for the

1
  Although plaintiff indicated he was filing his complaint "FOR THE DISTRICT OF (State)
California (Foreign State) lN THE COUNTY OF LOS ANGELES,'with "JURISDICT|ON"
under "18 USC 241,'described it as "this criminal complaint," and his complaint did not
identify the United States as the defendant in his submission to the court, the court's staff
attorney's office reviewed plaintiff's submission and, for whatever reason, directed that a
case be opened to initiate an action naming the United States as the defendant.




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State of California," "United States Codes Title 18," "the United States Criminal Code,"
and "the Federal Rules of Criminal Procedure," the "above-named Respondents, in the
instant action have supported criminal actions by willfully and knowingly" denying "A
RIGHT to due process of law" and engaging in "DOMESTIC MIXED WAR."2 Plaintiff
alleges that "Respondents 'PAUL A. BACIAGALUPO, STEVEN E. WEISS, JAKIE
LACEY, MARGUERITE DOWNING, PHILLIP L. BROWNING, CANDICE KEY" and
"MELITA WILEY' "acted against that due process by acting in a criminal conspiracy to
defraud the Complainant Affiant of his property, giving such property to the [the State
taxing authorityl [and/or] the lRS, WITHOUT ANY KIND OF LAWFUL JUDGEMENT,
COMMERCIAL PAPERWORK, CONTRACTS OR PROOF OF CLAIMS." lt is extremely
difficult to ascertain any further factual allegations from plaintiff's "criminal complaint" to
support his allegations of "criminal actions."
        In response to plaintiffs "criminal complaint," defendant filed a motion to dismiss
for lack of subject matter jurisdiction. Defendant asserts that this court does not have
jurisdiction to entertain plaintiff's claims because Mr. Turner's allegations are against
private actors and this court's jurisdiction is limited to claims against the United States.
 Defendant argues also that this court cannot exercise jurisdiction over plaintiffs criminal
allegations in his criminal complaint.
                                        DISCUSSION
        The court recognizes that plaintiff is proceeding pro se, without the assistance of
counsel. When determining whether a complaint filed by a pro se plaintiff is sufficient to
invoke review by a court, pro se plaintiffs are entitled to liberal construction of their
pleadings. See Haines v. Kerner, 404 U.S. 519, 520-2'l (requiring that allegations
contained in a oro se complaint be held to "less stringent standards than formal pleadings
drafted by lawyers"), reh'q denied, 405 U.S. 948 (1972); see also Erickson v. Pardus, 551
U.S. 89, 9a Q007); Huqhes v. Rowe, 449 U.S. 5, 9-10 (1980); Estelle v. Gamble, 429
U.S. 97, 106 (1976), reh'q denied,429 U.S. 1066 (1977); Matthews v. United States, 750
F.3d 1320, 1322(Fed.Ctr.2014); Diamond v. United States, 115 Fed. Cl. 516, 524,aff d,
603 F. App'x 947 (Fed. Cir.), cert. denied 135 S. Ct. 1909 (2015). "However, "'[t]here is
no duty on the part of the trial court to create a claim which [the plaintiff] has not spelled
out in his [or her] pleading.""' Lenqen v. United States, 100 Fed. Cl. 317, 328 (2011)
(alterations in original) (quoting Scoqin v. United States,33 Fed. C|.285,293 (1995)
(quoting Clarkv. Nat'l Travelers Life Ins. Co.,518 F.2d 1167,1169 (6th Cir. 1975))); see
also Bussie v. United States, 96 Fed. Cl. 89, 94, aff'd,443 F. App'x 542 (Fed. Cir. 2011);
Minehan v. United States, 75 Fed. Cl.249,253 (2007). "While a pro se plaintiff is held to
a less stringent standard than that of a plaintiff represented by an attorney, the pro se
plaintiff, nevertheless, bears the burden of establishing the Court's jurisdiction by a
preponderance of the evidence." Riles v. United States,93 Fed. Cl. 163, 165 (2010)
(citing Huqhesv. Rowe,449 U.S. at9 and Tavlorv. United States,303 F.3d 1357, 1359
(Fed. Cir.) ("Plaintiff bears the burden of showing jurisdiction by a preponderance of the
evidence."), reh'q and reh'q en banc denied (Fed. Cir. 2002)); see also Shelkofskv v.
United States, 119 Fed. Cl. 133, 139 (2014) ("[Wlhile the court may excuse ambiguities


2Capitalization, grammar, punctuation, and other errors quoted in this opinion are as they
appear in plaintiff s submissions.
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in a pro se plaintiffls complaint, the court 'does not excuse [a complaint's] failures."'
(quoting Henke v. United States,60 F.3d 795,799 (Fed. Cir. 1995)); Hanis v. United
States, 113 Fed. Cl. 290, 292 (2013) ("Although plaintiffs pleadings are held to a less
stringent standard, such leniency 'with respect to mere formalities does not relieve the
burden to meet jurisdictional requirements."' (quoting Minehan v. United States, 75 Fed.
Cl. at 253)). Nonetheless, this court finds that it does not have jurisdiction to consider
plaintiffs claims in the above-captioned case.

        Pursuant to Rule 10 of the Rules of the United States Court of Federal Claims, all
claims in the United States Court of Federal Claims must have "the United States
designated as the party defendant." RCFC 10(a) (2016); see also 28 U.S.C g 1491(a)(1)
(201\.fhe United States Supreme Court has indicated, for suits filed in the United States
Court of Federal Claims and its predecessors, "if the relief sought is against others than
the United States the suit as to them must be ignored as beyond the jurisdiction of the
court." United States v. Shenivood, 312 U.S. 584, 588 (1941) (citation omitted); see also
Kurt v. United States, 103 Fed. Cl. 384, 386 (2012). Stated differently, "the only proper
defendant for any matter before this court is the United States, not its officers, nor any
other individual." Stephenson v. United States, 58 Fed. Cl. 186, 190 (2003) (emphasis in
original); see also United States v. Sherwood, 312 U.S. 584, 588 (1941); Mav v. United
States, 80 Fed. Cl. 442, 444 ("Jurisdiction, then, is limited to suits against the United
States."), affld, 293 F. App'x 775 (Fed. Cir. 2008). Accordingly, because this court cannot
consider Mr. Turner's claims against any defendant other than the United States, Mr.
Turner's claims against "Paul A. Baciagalupo," "Jakie Lacey," "Steven E. Weiss," "Philip
L. Browning," "Candice Key," "Melita Wiley," and "Marguerite Downing" must be
dismissed.

        Additionally, this court cannot exercise jurisdiction over plaintiffs complaint
 because it is a "criminal complaint" that alleges "criminal actions" against the named
 individuals. See Joshua v. United States,17 F.3d 378,379 (Fed. Cir. 1994); see also
 Cooper v. United States, 104 Fed. Cl. 306, 312 (2012) (holding that "this court does not
 have jurisdiction over [plaintiffs] claims because the court may review neither criminal
 matters, northe decisions of district courts.") (internal citations omitted); Mendes v. United
 States,88 Fed. C|.759,762, appeal dismissed,375 F. App'x4 (Fed. Cir.2009); Hufford
v. United States, 87 Fed. Cl. 696, 702 (2009) (holding that the United States Court of
 Federal Claims lacked jurisdiction over claims arising from the violation of a criminal
statute); Matthews v. United States,72 Fed. C'.274,282 (finding that the court lacked
jurisdiction to consider plaintiffs criminal claims), recons. denied, 73 Fed. Cl. 524 (2006);
 McCullouqh v. United States, 76 Fed. Cl. 1,4 (2006) (finding that the court lacked
jurisdiction to consider plaintiffs criminal claims). Accordingly, because plaintiff's "criminal
complaint" alleges "criminal actions," those allegations must be dismissed for lack of
subject matter ju risd iction.

      Finally, to the extent plaintiff seeks to assert due process allegations, this court
does not have jurisdiction to hear such claims. The United States Court of Appeals for the
Federal Circuit consistently has held that this court does not possess jurisdiction to
consider claims arising under the Due Process Clauses of the Fifth and Fourteenth
Amendments. See Crocker v. United States , 125 F .3d 1475, 1476 (Fed. Cir. 1997) (no
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jurisdiction over a due process violation under the Fifth and Fourteenth Amendments
(citing LeBlanc v. United States, 50 F.3d 1025,1028 (1995))); see also Smith v. United
States, 709 F.3d 1114,1116 (2013) ("The law is well settled that the Due Process clauses
of both the Fifth and Fourteenth Amendments do not mandate the payment of money and
thus do not provide a cause of action under the Tucker Act." (citing LeBlanc v. United
States, 50 F.3d at 1028)); In re United States,463 F.3d 1328, 1335 n. 5 (Fed. Cir.)
("[B]ecause the Due Process Clause is not money-mandating, it may not provide the basis
for jurisdiction under the Tucker Act."), reh'q and reh'o en banc denied (Fed. Cir. 2006),
cert. denied sub nom. Scholl v. United States, 552 U.S. 9a0 QOOT); Acadia Tech.. Inc. &
Global Win Tech., Ltd. v. United States, 458 F.3d 1327,1334 (Fed. Cir. 2006); Collins v.
United States, 67 F.3d 284,288 (Fed. Cir.) ("[T]he due process clause does not obligate
the government to pay money damages."), reh'q denied (Fed. Cir. 1995); Mullenberq v.
United States,857 F.2d770,773 (Fed. Cir. 1988) (finding thatthe Due Process clauses
"do not trigger Tucker Act jurisdiction in the courts"); Murrav v. United States, 817 F.2d
1580, 1583 (Fed. Cir. 1987) (noting that the Fifth Amendment Due Process clause does
not include language mandating the payment of money damages); Harper v. United
States, 104 Fed. C|.287,291 n.5(2012); Hampel v. United States,97 Fed. Cl.235,238,
atf d, 429 Fed. App'x. 995 (Fed. Cu.2011), cert. denied,           U S.     132 S. Ct. 1 105,
                                                            -
181 L. Ed. 2d973 (2012): McCullouqh v. United States, 76 Fed. Cl. at4 ("[N]eitherthe
                                                                     -,
Fifth Amendment Due Process Clause         .     . nor the Privileges and lmmunities Clause
provides a basis for jurisdiction in this court because the Fifth Amendment is not a source
that mandates the payment of money to plaintiff."), appeal dismissed, 236 Fed. App'x.
615 (Fed. Cir.), reh'q denied (Fed. Cir.), cert. denied,552 U.S. 1050, 128 S. Ct.675, 169
L.Ed.2d 529 (2007). Due process claims "must be heard in District Court." Kam-Almaz v.
United States, 96 Fed. Cl. 84, 89 (201 1) (citing Acadia Tech.. Inc. & Global Win Tech..
Ltd. v. United States,458 F.3d at 1334), aff'd,682 F.3d 1364 (Fed. Cir.2012); see also
Hampel v. United States, 97 Fed. Cl. at 238. This court, therefore, lacks jurisdiction to
hear plaintiffs due process claims.

                                      CONCLUSION

       Defendant's motion     to   dismiss     is   GRANTED, and plaintiffs complaint      is
DISMISSED. The Clerk's Office shall enter JUDGMENT consistent with this Order.

       IT IS SO ORDERED.
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                                                          -MARIAN BLANK        HORN
                                                                    Judge




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